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 5                               UNITED STATES DISTRICT COURT
 6                                      DISTRICT OF NEVADA
 7                                                    ***

 8   UNITED STATES OF AMERICA,           )
                                         )
 9                     Plaintiff,        )                   Case No. 2:10-cr-585-RLH-VCF
                                         )
10         vs.                           )                            ORDER
                                         )                    (Motion for Reduction–#105)
11   JORGE MONTES,                       )
                                         )
12                     Defendant.        )
     ____________________________________)
13

14                  Before the Court is Defendant’s Motion and Questionaire for Reduction of Sentence

15   Pursuant to 18 U.S.C. §3582(c) (#105, filed June 12, 2012), filed on a Northern District of Texas

16   form, but filed in this Court.

17                  Defendant, who was sentenced on March 2, 2012, provides no basis for relief under

18   18 U.S.C. §3582(c), or any other statute or rule, nor does he explain why he seeks a reduction of

19   sentence.

20                  IT IS THEREFORE ORDERED that Defendant’s Motion and Questionaire for

21   Reduction of Sentence Pursuant to 18 U.S.C. §3582(c) (#105) is DENIED as being without merit or

22   basis.

23                  Dated: June 15, 2012.

24

25                                                       ____________________________________
                                                         Roger L. Hunt
26                                                       United States District Judge
